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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

  HEALTH CHOICE ADVOCATES, LLC and                  Civil Action No.: 5:17-CV-126-RWS-CMC
  JAIME GREEN, on behalf of the UNITED
  STATES OF AMERICA; STATE OF
  ARKANSAS; STATE OF CALIFORNIA;                         JURY TRIAL DEMANDED
  STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF
  DELAWARE; DISTRICT OF COLUMBIA;
  STATE OF FLORIDA; STATE OF GEORGIA;
  STATE OF HAWAII; STATE OF ILLINOIS;
  STATE OF INDIANA; STATE OF IOWA;
  STATE OF LOUISIANA; STATE OF
  MARYLAND; COMMONWEALTH OF
  MASSACHUSETTS; STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  MONTANA; STATE OF NEVADA; STATE OF
  NEW HAMPSHIRE; STATE OF NEW JERSEY;
  STATE OF NEW MEXICO; STATE OF NEW
  YORK; STATE OF NORTH CAROLINA;
  STATE OF OKLAHOMA; STATE OF RHODE
  ISLAND; STATE OF TENNESSEE;
  STATE OF TEXAS; STATE OF VERMONT;
  COMMONWEALTH OF VIRGINIA; and
  STATE OF WASHINGTON,

        Plaintiffs/Relators;

  v.

  BAYER CORPORATION; AMGEN INC.;
  ONYX PHARMACEUTICALS, INC.;
  AMERISOURCEBERGEN CORPORATION;
  and LASH GROUP,

        Defendants.


                                 E-DISCOVERY ORDER

  The Court ORDERS as follows:




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  1.   This order supplements all other discovery rules and orders. It streamlines Electronically

       Stored Information (“ESI”) production to promote a “just, speedy, and inexpensive

       determination” of this action, as required by Federal Rule of Civil Procedure 1.

  2.   This order may be modified in the court’s discretion or by agreement of the parties. The

       parties shall jointly submit any proposed modifications within 30 days after the Federal

       Rule of Civil Procedure 16 conference. If the parties cannot resolve their disagreements

       regarding these modifications, the parties shall submit their competing proposals and a

       summary of their dispute.

  3.   A party’s meaningful compliance with this Order and efforts to promote efficiency and

       reduce costs will be considered in cost-shifting determinations.

  4.   Absent a showing of good cause, general ESI production requests under Federal Rules of

       Civil Procedure 34 and 45, or compliance with a mandatory disclosure requirement of

       this Court, shall not include metadata. However, fields showing the date and time that the

       document was created and last modified, as well as the file name and file extension, shall

       generally be included in the production if such fields exist. .Any metadata should be

       produced with a Concordance DAT load file.

  5.   Absent agreement of the parties or further order of this court, the following parameters

       shall apply to ESI production:

       A.     General Document Image Format. Each electronic document shall be produced

              in single-page Group IV Tagged Image File Format (“TIFF”) format with image

              resolution of at least 300 DPI, and in black and white unless color is necessary to

              understand the meaning. TIFF files shall be single page and shall be named with

              a unique production number followed by the appropriate file extension. Load files




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             shall be provided to indicate the location and unitization of the TIFF files. If a

             document is more than one page, the unitization of the document and any

             attachments and/or affixed notes shall be maintained as they existed in the

             original document. If an electronic document cannot be produced accurately in

             the TIFF image format (e.g. excel, audio, movie, or binary files), a TIFF slip sheet

             will be produced for each document, which includes a notation of the respective

             native document storage location, file name, date last modified, and file size.

       B.    Text-Searchable Documents. No party has an obligation to make its production

             text-searchable; however, if a party’s documents already exist in text-searchable

             format independent of this litigation, or are converted to text-searchable format

             for use in this litigation, including for use by the producing party’s counsel, then

             such documents shall be produced in the same text-searchable format at no cost to

             the receiving party.

       C.    Footer. Each document image shall contain a footer with a sequentially ascending

             production number.

       D.    Native Files. A party that receives a document produced in a format specified

             above may make a reasonable request to receive the document in its native

             format, and upon receipt of such a request, the producing party shall produce the

             document in its native format.

       E.    No Backup Restoration Required. Absent a showing of good cause, no party

             need restore any form of media upon which backup data is maintained in a party’s

             normal or allowed processes, including but not limited to backup tapes, disks,




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                       SAN, and other forms of media, to comply with its discovery obligations in the

                       present case.

             F.        Voicemail and Mobile Devices. Absent a showing of good cause, voice-mails,

                       PDAs and mobile phones are deemed not reasonably accessible and need not be

                       collected and preserved.

  6.         General ESI production requests under Federal Rules of Civil Procedure 34 and 45, or

             compliance with a mandatory disclosure order of this court, shall not include e-mail or

             other forms of electronic correspondence (collectively “e-mail”). To obtain e-mail parties

             must propound specific e-mail production requests.

  7.         E-mail production requests shall be phased to occur timely after the parties have

             exchanged initial disclosures, a specific identification1 of the thirty2 most significant

             listed e-mail custodians in view of the pleaded claims and defenses, and preliminary

             information relevant to damages. The exchange of this information shall occur at the time

             required under the Federal Rules of Civil Procedure, Local Rules, or by order of the

             court. Each requesting party may also propound up to five written discovery requests and

             take one deposition per producing party to identify the proper custodians, proper search

             terms, and proper time frame for e-mail production requests. The court may allow

             additional discovery upon a showing of good cause.

  8.         E-mail production requests shall identify the custodian, search terms, and time frame.

             The parties shall cooperate to identify the proper custodians, proper search terms, and

             proper time frame. Relators may serve e-mail production requests for up to fifty

  1
      A “specific identification” requires a short description of why the custodian is believed to be significant.
  2
   In the event a party in good faith determines it has fewer than 30 email custodians relevant to this action, that party
  shall list all relevant email custodians it can identify.




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          custodians of Defendants, with no more than 20 custodians from any Defendant Party.3

          Defendants may serve e-mail production requests for up to fifty custodians of Relators.

          The parties may jointly agree to modify this limit without the court’s leave. The court

          shall consider contested requests for additional or fewer custodians per producing party,

          upon showing a distinct need based on the size, complexity, and issues of this specific

          case.

  9.      Each requesting party shall limit its e-mail production requests to a total of twenty search

          terms per custodian per party. The parties may jointly agree to modify this limit without

          the court’s leave. The court shall consider contested requests for additional or fewer

          search terms per custodian, upon showing a distinct need based on the size, complexity,

          and issues of this specific case. The search terms shall be narrowly tailored to particular

          issues. Indiscriminate terms, such as the producing company’s name or its product name,

          are inappropriate unless combined with narrowing search criteria that sufficiently reduce

          the risk of overproduction. A conjunctive combination of multiple words or phrases (e.g.,

          “computer” and “system”) narrows the search and shall count as a single search term. A

          disjunctive combination of multiple words or phrases (e.g., “computer” or “system”)

          broadens the search, and thus each word or phrase shall count as a separate search term

          unless they are variants of the same word. Use of narrowing search criteria (e.g., “and,”

          “but not,” “w/x”) is encouraged to limit the production and shall be considered when

          determining whether to shift costs for disproportionate discovery.




  3
   For purposes of this order, Amgen Inc. and Onyx Pharmaceuticals, Inc. shall be considered one party, and
  AmerisourceBergen Corporation and Lash Group shall be considered one party.



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      10.   E-mail produced pursuant to paragraphs 7-9 of this Order should include the metadata

            fields showing the sender, the date and time that the e-mail was sent and received, as well

            as the complete distribution list, if such metadata exists.

      11.   Pursuant to Federal Rule of Evidence 502(d), the inadvertent production of a privileged

            or work product protected ESI is not a waiver in the pending case or in any other federal
.
            or state proceeding. Within 3 business days of receiving written notice of any such

            inadvertent production, the receiving party shall confirm to the producing party that all

            copies of the produced documents have been returned or destroyed.

      12.   The mere production of ESI in a litigation as part of a mass production shall not itself

            constitute a waiver for any purpose.

      13.   Except as expressly stated, nothing in this order affects the parties’ discovery obligations

            under the Federal or Local Rules.

     SIGNED this 4th day of April, 2018.




                                                   ____________________________________
                                                   CAROLINE M. CRAVEN
                                                   UNITED STATES MAGISTRATE JUDGE




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